                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF ALABAMA
                             EASTERN DIVISION


ln Re:                                       s

IVICHAEL MAYNARD                             s         Case No. 14-40052
                                                       Chapter 13
                                             s
         Debto(s)

                             Notice Of Final Cure Pavment

Pursuant to Federal Rule of Bankruptcy Procedure 3002.1 (0, the Chapter 1 3 Trustee,
Linda B. Gore, files this Notice of Final Cure Payment. The amount required to cure the
default in the claim listed below has been paid in full.

Name of Creditor: SN SERVICING CORPORATION

Final Cure Amount

Cou rt                            Claim                Claim                Amount
Claim #       Account #           Asserted             Allowed              Paid

 15          9023                $ -0-                 $   -0-              $-0-
                                                       (Direct Pay)

 15           9023               $7.372.28             $ 7,372.28           $7.372.28
                                                       (Arrearage)



Total Amount Paid by Trustee                                                b 7,372.28



Monthly ongoing Mortgage Payment:

Mortgage is Paid:

_    Through the Chapter 13 Conduit               X   Direct by the Debto(s)

Within 21 days of the service of the Notice of Final Cure Payment, the creditor MUST
file and serve a Statement as a supplement to the holder's proof of claim on the
debto(s), debto(s)' Counsel and the Chapter 13 Trustee, pursuant to
Fed.R.Bank.P.3002.1(g), indicating 1)whether it agrees that the debto(s) have paid in
full the amount required to cure the default on the claim; and 2) whether the debto(s)
are otherwise current on all payments consistent with 11 U.S.C. S 1322 (b)(5).

The statement shall itemize the required cure or post-petition amounts, if any, that the



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holder contends remain unpaid as of the date of the statement. The statement shall be
filed as a supplement to the holder's proof of claim and is not subject to Rule 3001(f).
Failure to notify may result in sanctions.

Prepared this the   Lfia^v    ot                 ,2018
                                      ertificate of Serv
I hereby certify that a copy of the foregoing Notice of Final Cure Payment was mailed
first class postage prepaid to the following:


MICHAEL MAYNARD
271 H,T, GREER ROAD
ALBERTVILLE, AL 35951

SN SERVICING CORPORATION
323 sTH STREET
EUREKA, CA 95501

THOIV1AS G. TUTTEN, JR, ESQ
Attorney for the Creditor
SIROTE & PERMUTT PC
P O BOX 55887
BIRMINGHAM, AL 35255

and served via electronic case management to

S. VINCENT SMITH ESO.
Attorney for Debtors
103 WEST MAIN STREET
ALBERTVILLE, AL 35950
smith52701@qmail.com


On this the          day of          2018

                                            Linda B. Gore
                                            Chapter 13 Trustee
                                            P. O. Box 1338
                                            Gadsden, AL 35902-1338
                                            (256) 546-9262




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